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This Documents Relates To:

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onorable Judge Berm`ce B. Donald

ALL ACTIONS agistrate Judge Diane K. Vescovo

 

t ` ORDER GRANTING PLAINTIFFS’ UNOPPOSED
MOTION FOR EXTENSION OF TIME TO FILE AN OPPOSITION TO
DEFENDANT HALCOR’S MOTION TO DISMISS THE COMPLAINT
lt appearing to the Court that Plaintiffs’ Unopposed Motion for Extension of Time to File an
Opposition to Defendant I-Ialcor’s Motion to Dismiss the Complaint is well taken and should be
granted;
IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintiffs are

hereby granted an extension of time to from June 27, 2005 to JuIy 11, 2005 to file an Opposition to

Defendant Halcor’s Motion to Dismiss the Complaint.

 

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Honorable Bernice Donald
US DISTRICT COURT

